Case 9:13-cr-00028-RC-ZJH           Document 75        Filed 05/22/14   Page 1 of 2 PageID #:
                                            186



                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §       CASE NO. 9:13-CR-28(3)
                                                 §
WILDRED LEE TRIPPLETT                            §



        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact and

Recommendations regarding the Defendant’s plea of guilty to Count One of the Indictment in the

above-numbered case. The Magistrate Judge accepted the Defendant’s guilty plea, recommends that

the Defendant be adjudged guilty of the offense to which he pleaded guilty, and recommends that

the court defer acceptance of the plea agreement until after the court has had an opportunity to

review the presentence report.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

ADOPTED. The court accepts the Defendant’s plea, but defers acceptance of the plea agreement

until the court has reviewed the presentence report.




                                               -1-
Case 9:13-cr-00028-RC-ZJH         Document 75      Filed 05/22/14   Page 2 of 2 PageID #:
                                          187



       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant is adjudged GUILTY of the

offenses alleged in Count One of the Indictment.

  So ORDERED and SIGNED this 22 day of May, 2014.




                                              ___________________________________
                                              Ron Clark, United States District Judge




                                             -2-
